    Case 19-00149-SMT          Doc 111     Filed 07/30/19 Entered 07/30/19 11:34:11            Desc Main
                                          Document     Page 1 of 1
NTCHRG (02/03)




                                          United States Bankruptcy Court for
                                              the District of Columbia
                                       E. Barrett Prettyman U. S. Courthouse
                                         333 Constitution Ave, NW #1225
                                              Washington, DC 20001
                                                   (202) 354−3280
                                               www.dcb.uscourts.gov


In Re                                                                             Case No. 19−00149−SMT
Thomas K. Stephenson
Debtor                                                                            Chapter 11




                                            NOTICE OF HEARING

                                           ====================

   NOTICE IS HEREBY GIVEN that a hearing will be held before the Honorable S. Martin Teel, Jr., United States
Bankruptcy Judge for the District of Columbia, in the above−referenced case on the following date and time:

DATE: August 14, 2019

TIME: 2:00 PM

LOCATION: Courtroom 1, United States Courthouse, 333 Constitution Ave NW, Washington, DC 20001

  The following matter(s) will be considered and acted upon at the time:

− Motion Pursuant To 11 U.S.C. § 364 (C) For Authority To Enter Into Finance Agreement With Washington Capital
Partners Filed By Thomas K. Stephenson (Docket Entry No. 65)
− Motion To Continue Retention And Funding Of State Court Ordered Receiver Pursuant To Superior Court Orders
Filed By The District Of Columbia (Docket Entry No. 75)

− Amended Motion to Sell Property Filed by Thomas K. Stephenson (Docket Entry No. 76)


Dated: 7/30/19                                           For the Court:
                                                         Angela D. Caesar
                                                         BY: am
